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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

       v.                                              CRIMINAL ACTION

 MARK HOUCK                                            NO. 22-323



                                       ORDER

      AND NOW, this 24th day of January 2023, upon consideration of the

Government’s Objection to Defendant’s Self Defense Jury Instruction and Motion in

Limine for Pretrial Hearing (ECF 61), the Motion is DENIED without prejudice for

the reasons discussed on the record.



                                                    BY THE COURT:



                                                    /s/ Gerald J. Pappert
                                                    GERALD J. PAPPERT, J.
